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      Kelley                             Kellie                                                                                                                                       18-40887




               Fill in this information to identify your case:


                Debtor 1       Michael                                  Kelley
                               First Name            Middle Name Last Name

                Debtor 2       Cami                                     Kellie                               vim Check if this is an amended plan. and list below the
                                                                                                                  sections of that plan that have been changed.
                               First Name            Middle Name Last Name
                                                                                                             3.2

                United States District Court for the District of Idaho

                Case number
                (If known)
                                  18-40887




Idaho Form Chapter 13 Plan                                                                                                                                                             12/17


  Part 1:                  Notices

                           This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
To Debtors:                indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that
                           do not comply with local rules and judicial rulings may not be confirmable.
                           In the following notice to creditors, you must check each box that applies.


To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                           You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not
                           have an attorney, you may wish to consult one.
                           If you oppose the plan's treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                           confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the bankruptcy
                           court. The bankruptcy court may confirm this plan without further notice if no objection to confirmation is filed. See Bankruptcy
                           Rule 3015. In addition, you may need to file a timely proof of claim in order to be paid under any plan.

                            The following matters are of particular importance. Debtors must check one box on each line to state whether or not the plan
                           includes each of the following items. If an item is checked as "Not Included" or if both boxes are checked, the provision will
                           be ineffective if set out later in the plan.


                 A limit on the amount of a secured claim, set out in Section 3.2, which may result in a partial                   (ii. Included                   C Not included
    1.1
                 payment or no payment at all to the secured creditor
                 Avoidance of a judicial lien or nonpossessory, nonpurchase money security interest, set out                       ('   Included                    (i. Not included
    1.2
                 in Section 3.4

    1.3          Nonstandard provisions, set out in Part 8                                                                         C' Included                      (i. Not included

    1.4          Discharge: Debtor 1 is eligible for discharge of debts                                                             (:"' Eligible                   (— Not eligible

                 Discharge: Debtor 2 is eligible for discharge of debts                                                             CO' Eligible                    C' Not eligible




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  Part 2:                Plan Payments and Length of Plan

                   No later than thirty (30) days after the date the bankruptcy petition is filed, debtor(s) will commence making regular payments to the
    2.1
                   trustee as follows'

                       $ $1,390.00                per Month             for 60                      months


The Applicable Commitment Period is 60                   months. Debtor(s) may not pay off this plan in less than the term of the plan without notice to interested
parties and an opportunity for hearing before the court unless the plan pays all allowed unsecured claims in full.

    2.2            Regular payments to the trustee will be made from future income in the following manner:

                   Check all that apply.

                   ❑      Debtor(s) will make payments pursuant to a payroll deduction order.


                   ❑      Debtor(s) will make payments directly to the trustee.


                   ❑      Other (specify method of payment):

                   Debtor(s) acknowledge that if the debtor(s) is/are ever more than thirty (30) days delinquent on any payment due under this Section 2.1, upon
                   request of the trustee, or request of the debtor(s) at any time, a payroll deduction order to debtor(s)' employer may immediately be issued.

    2.3            Income tax refunds.

                   Check one.

                   ❑ Debtor(s) will retain any income tax refunds received during the plan term.


                       l Debtor(s) project income tax refunds during the term of this plan. During the Applicable Commitment Period, debtor(s) will turn over to
                         trustee all net income tax refunds. At any time during the term of the plan, debtor(s) shall be entitled to use a tax refund to pay taxes due
                          any other income taxing authority and/or reasonable tax return preparation fees, unless already budgeted. Upon a stipulation between the
                         trustee and the debtor(s), approved by an order of the court, the debtor(s) may retain, in whole or in part, certain net income tax refunds during
                         the term of the plan to facilitate the terms of this plan or to meet other reasonable and necessary needs of the debtor(s).

                   ❑ Debtor(s) will treat income tax refunds as follows:



    2.4            Additional payments.

                   Check one.

                   El None. If "None" is checked, the rest of § 2.4 need not be completed or reproduced.


    2.5            The trustee, for cause, may defer not more than two monthly payments per calendar year and not more than four payments over the term
                   of the plan, without further notice to parties or a hearing before the court.



  Part 3:                 Treatment of Secured Claims


    3.1            Maintenance of payments and cure of default, if any.

                   Check one.

                   ❑      None. If "None" is checked, the rest of § 3.1 need not be completed or reproduced.

                   •      The debtor(s) will maintain the current contractual installment payments on the secured claims listed below, with any changes required by
                          the applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed either by the trustee or
                          directly by the debtor(s), as specified below. Any existing arrearage on a listed claim will be paid in full through disbursements by the
                          trustee, with interest, if any, at the rate stated. Unless otherwise ordered by the court, the amounts listed on a proof of claim filed before the
                          filing deadline under Bankruptcy Rule 3002(c) control over any contrary amounts listed below as to the current installment payment and
                           arrearage. In the absence of a contrary timely filed proof of claim, the amounts stated below are controlling. If relief from the automatic stay
                           is ordered as to any item of collateral listed in this paragraph, then, unless otherwise ordered by the court, all payments under this
                           paragraph as to that collateral will cease, and all secured claims based on that collateral will no longer be treated by the plan.




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        KoHey                            Kale
                                                                   Current Installment                                                                                                        Estimated Total payments
                                                                                               Amount of arrearage          Interest rate on arrearage (if     Monthly plan payment on
                                                                        payment                                                                                                                      by trustde
      Name of Creditor                                                                              (if any)                          applicable)                     arrearage
                                                                   (including escrow)                                                                                                                  amount
                                                                                                    amount                             enter 56                    _ $ amount


Selene Finance                   Real property                  $911.00                    $33,879.50                                                    0 % $564.66                          $33,879.50


                                                                                                   Disbursed by:

                                                                                           O    Trustee


                                                                                           ❑    Debtor(s)


    3.2          Request for valuation of security, payment of fully secured claims, and modification of undersecured claims.

                 Check one.

                 ❑    None. If "None" is checked, the rest of § 3.2 need not be completed or reproduced.

                      The debtor(s) request that the court determine the value of the secured claims listed below. For each non-governmental secured claim
                      listed below, the debtor(s) state that the value of the secured claim should be as set out in the column headed Amount of secured
                       claim. For secured claims of governmental units, unless otherwise ordered by the court, the value of a secured claim listed in a proof of
                       claim filed in accordance with the Bankruptcy Rules controls over any contrary amount listed below. For each listed claim, the value of
                       the secured claim will be paid in full with interest at the rate stated below.

                      The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5 of this
                      plan. If the amount of a creditor's secured claim is listed below as having no value, the creditor's allowed claim will be treated in its entirety
                      as an unsecured claim under Part 5 of this plan. Unless otherwise ordered by the court, the amount of the creditor's total claim listed on the
                      proof of claim controls over any contrary amounts listed in this paragraph.

                      The holder of any claim listed below as having value in the column headed Amount of secured claim
                      of the debtor(s) or the estate(s) until the earlier of:

                                    (a) payment of the underlying debt determined under nonbankruptcy law, or
                                    (b) discharge of the underlying debt under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the creditor.

                       For each creditor listed in this section 3.2 the debtor(s) will serve notice on such creditor as required in Bankruptcy Rule 7004
                       and file a proof of service with the court. Request for valuation of security in which creditors hold an interest must be made
                       consistent with Rule 3012.


                                                                                                                 Amount of claims Amount of secured
                                               amount of                                                                                                           Interest rata Monthly payment to     Estimated total of :!
                     Name of creditor                                     Collateral        Value of collateral senior to creditor's   claim
                                             creditor's total                                                                                                                                           monthly payments
                                                                                                                        claim
                                                 claim

                 Rails West                 $2,525.03             Poketa rd 70 & carson    $2,000.00                $0.00              $2,000.00                          5%    $37.74                 $2,264.55


                 ISTC                       $14,474.00            Unknown                  $0.00                    $0.00              $14.474.00                         4%    $266.56                $15,993.60


                 South East Financial       $10.000.00            Intreped & Durango       $2,000.00                $10,000.00         $2,000.00                          5%    $37.74                 $2,264.55


     3.3         Secured claims excluded from 11 U.S.C. § 506.

                 Check one.

                 ❑    None. If "None" is checked, the rest of § 3.3 need not be completed or reproduced.

                 O    The claims listed below were either:

                       (1) incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle acquired for the
                       personal use of the debtor(s), or

                       (2) incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of value.

                       These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed either by the trustee or
                       directly by the debtor(s), as specified below. Unless otherwise ordered by the court, the claim amount stated on a proof of claim filed before the
                       filing deadline under Bankruptcy Rule 3002(c) controls over any contrary amount listed below. In the absence of a contrary timely filed proof of
                       claim, the amounts stated below are controlling.

                                                                                                                                                                                                        Estimated total
                                                                           Collateral                                                                                                                 payments to trustee
                                                                                                                                                                                                         (S amount)

L                                                    Tires                                                $503.00                         5                                 $9.49                     ;569 45


                                                                                                          Date
                                                                                                          04/25/2008
                                                                                                                                                   Disbursed by:

                                                                                                                                          El   Trustee

                                                                                                                                          ❑    Debtor(s)


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          Kelley                       Kolbe                                                                                                                                           Jr ,

                                                                                                      nt of claim                                                       Estimated total
                                                                                                                             Interest rate     Monthly plan payment
                                                                                                     amount)                                                          payments to trustee
                                                                                                                              (enter %)             (S amount)
                                                                                                     01 Contract                                                         (S amount)

Simplot Credit Union                            2008 Ford Fusion                        52,466.06                   5                          $46.55                 52,793.00

                                                                                         Date
                                                                                         2/01/2018
                                                                                                                            Disbursed by:

                                                                                                                    171 Trustee

                                                                                                                    ❑    Debtor(s)




Simplot Credit Union                            1998 Dodge Ram                          $9,255.32                   5                          $174.66                $10,479.60

                                                                                        Date
                                                                                        01/01/2018
                                                                                                                            Disbursed by:
                                                                                                                    O    Trustee

                                                                                                                    ❑    Debtor(s)

    3.4            Lien Avoidance

                   Check one.

                   lE1 None. If "None" is checked, the rest of § 3.4 need not be completed or reproduced.

    3.5            Surrender of collateral.

                   Check one.

                   IZ1 None. If "None" is checked, the rest of § 3.5 need not be completed or reproduced.

    3.6            Adequate Protection Payments.

                   Check one.

                   IE1 None. If "None" is checked, the rest of § 3.6 need not be completed or reproduced.

    3.7            Post-Petition Real Property Tax Payments.

                   Check one.

                   ❑ None. If "None" is checked, the rest of § 3.7 need not be completed or reproduced.

                   ▪ Real property taxes are paid through escrow by debtor(s)' mortgage holder.

                   ❑ Real property taxes are paid directly by the debtor(s).


  Part 4:               Treatment of Fees and Priority Claims


    4.1            General

                   Trustee's fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full without
                   post-petition interest.

    4.2            Trustee's fees

                   Trustee's fees are governed and paid as provided by 28 U.S.C. § 586.

    4.3             Attorney's fees

                    Check one.
                    i Debtor(s)' attorney has elected to charge a fixed fee pursuant to the Model Retention Agreement, Local Rule 2016.1, of $3,500.00

                        (not to exceed $4,000), exclusive of costs. Said attorney has received $1,600.00                prior to the filing hereof and is to be paid the remaining

                        amount in monthly payments over the initial 60          months of distribution or in such longer period as is required to allow the trustee to make
                       the set montly installments as set forth in this plan.

                   ❑    Fees and costs to the debtor(s)' attorney in an amount to be proven and allowed by the court but not to exceed
                        payable in equal monthly installments over the inital       months of distribution. This is in addition to the fee retainer paid pre-petition
                                         ) and any sums allowed in any previous orders.

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      Kelley                        KolIle


   4.4         Priority claims other than attorney's fees and those treated in § 4.5.

                Check one.

               ❑    None.     If "None" is checked, the rest of § 4.4 need not be completed or reproduced.
               ❑    The debtor(s) estimate the total amount of other priority claims to be
                    payable in equal monthly installments over the term of the plan.
               El The debtor(s) estimate the total amount of other priority claims to be $655.38

                     payable as funds become available after set monthly installments pursuant to the plan are made.

   4.5         Domestic support obligations.

               Check one.

               ▪    None. If "None" is checked, the rest of § 4.5 need not be completed or reproduced.


 Part 5:            Treatment of Nonpriority Unsecured Claims


   5.1         Nonpriority unsecured claims not separately classified.

               Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata from, the funds remaining after disbursements
               have been made to all other creditors provided for in this plan.

               If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately
               Payments on allowed nonpriority unsecured claims will be made in at least this amount.


   5.2         Maintenance of payments and cure of any default on nonpriority unsecured claims.

               Check one.

               tZ1 None. If "None" is checked, the rest of § 5.2 need not be completed or reproduced.

   5.3         Other separately classified nonpriority unsecured claims.

               Check one.

                El None. If "None" is checked, the rest of § 5.3 need not be completed or reproduced.


 Part 6:             Executory Contracts and Unexpired Leases


               The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory contracts
   6.1
               and unexpired leases are rejected.
               Check one.

                ES) None. If "None" is checked, the rest of § 6.1 need not be completed or reproduced.


 Part 7:             Vesting of Property of the Estate


   7.1         Property of the estate will vest in the debtor(s) upon

                Check the applicable box:

                ❑    plan confirmation.

                ral entry of discharge.

                ❑    other:


  Part 8:            Nonstandard Plan Provisions


    8.1         Check "None" or List Nonstandard Plan Provisions

                121 None. If "None" is checked, the rest of Part 8 need not be completed or reproduced.


  Part 9:            Signatures


    9.1         Signatures of Debtor(s) and Debtor(s)' Attorney


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               /s/ Michael Kelley                                               /s/ Cami Kelley
            Signature of Debtor 1                                            Signature of Debtor 2
               Date   12/13/2018                                             Date   12/13/2018

        X      /s/ Andre Lawson                                              Date   12/13/2018
            Signature of Debtor(s) Attorney

            By filing this document, the Debtor(s), if not represented by an attorney, or debtor(s) attorney
            also certify(ies) that the wording and order of the provisions in this Chapter 13 plan are identical to
            those contained in Idaho Form Chapter 13 Plan, other than any nonstandard provisions included in Part
            8.




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       Kelley                  Kellie

Exhibit: Total Amount of Estimated Trustee Payments
       The following are the estimated payments that the plan requires the trustee to disburse. If there is any difference between the amounts set
       out below and the actual plan terms, the plan terms control.


  a.   Maintenance and cure payments on secured claims ( Part 3, Section 3.1 total)                                       $0.00

  b.   Modified secured claims ( Part 3, Section 3.2 total)                                                               $0.00

  c.   Secured claims excluded from 11 U.S.C. § 506 ( Part 3, Section 3.3 total)                                          $0.00

  d.   Judicial liens or security interests partially avoided ( Part 3, Section 3.4 total)                                $0.00

  e.   Fees and priority claims ( Part 4 total)                                                                           $0.00

  f.   Nonpriority unsecured claims ( Part 5, Section 5.1, highest stated amount)                                         $0.00

  g.   Maintenance and cure payments on unsecured claims ( Part 5, Section 5.2 total )                                    $0.00

  h.   Separately classified unsecured claims ( Part 5, Section 5.3 total)                                                $0.00

  i.   Trustee payments on executory contracts and unexpired leases (Part 6, Section 6.1 total)                           $0.00

  j.   Nonstandard payments (Part 8, total)                                                                               $0.00


       Total of lines a through j




 Clear/Reset Form




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